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     Attorney for DoorDash, Inc.
19

20            IN THE UNITED STATES DISTRICT COURT FOR THE
21                            NORTHERN DISTRICT OF CALIFORNIA
22                           SAN FRANCISCO DIVISION
23

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27                                            1
         JOINT STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING PLAINTIFF’S
28                                 CLAIMS WITH PREJUDICE
                                  CASE NO. 3:21-CV-08096-TSH
                Case 3:21-cv-08096-TSH Document 23 Filed 12/28/21 Page 2 of 4




     IDEDA ANTOSI, individually and                     Case No. 3:21-CV-08096-
 1                                                      TSH
     on behalf of a proposed class,
 2
                Plaintiffs,
                                                        JOINT STIPULATION
 3                                                      AND [PROPOSED]
     v.
                                                        ORDER VOLUNTARILY
 4                                                      DISMISSING
     DOORDASH, INC.,
                                                        PLAINTIFF’S CLAIMS
 5                                                      WITH PREJUDICE
                 Defendant.
 6

 7

 8

 9
                        JOINT STIPULATION VOLUNTARILY
10                 DISMISSING PLAINTIFF’S CASE WITH PREJUDICE
11
               Under Federal Rule of Civil Procedure Rule 41(a)(1)(ii), Plaintiff Ideda
12
     Antosi and Defendant DoorDash, Inc., stipulate to voluntarily dismiss with
13

14   prejudice Plaintiff’s claims against Defendant. The Parties agree to following:
15
          1.      Plaintiff’s claims shall be dismissed with prejudice.
16
          2.      Each party shall bear its own costs of the litigation and attorney’s fees.
17

18             The Parties respectfully ask the Court to enter the attached proposed Order,
19
     which reflects the Parties’ agreement.
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           JOINT STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING PLAINTIFF’S
28                                   CLAIMS WITH PREJUDICE
                                    CASE NO. 3:21-CV-08096-TSH
            Case 3:21-cv-08096-TSH Document 23 Filed 12/28/21 Page 3 of 4




 1

 2   Dated: December 28, 2021                  Respectfully submitted,
 3                                             Bailey & Glasser LLP
 4

 5

 6                                             By: /s/ Todd A. Walburg
 7                                                  Todd A. Walburg

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21                                          of a proposed class

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        JOINT STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING PLAINTIFF’S
28                                CLAIMS WITH PREJUDICE
                                 CASE NO. 3:21-CV-08096-TSH
              Case 3:21-cv-08096-TSH Document 23 Filed 12/28/21 Page 4 of 4




 1
                       [PROPOSED] ORDER FOR VOLUNTARY
 2                   STIPULATED DISMISSAL WITH PREJUDICE
 3                                     December
            AND NOW, this 28th
                          ___ day of __________________, 2021, upon
 4
     consideration of the Joint Voluntary stipulation, it is hereby ORDERED that all
 5
     the named plaintiff's
 6   claims brought in this case are DISMISSED WITH PREJUDICE. It is further
 7
     ORDERED that each party shall bear its own costs and attorney’s fees.
 8
            PURSUANT TO STIPULATION, IT IS SO ORDERED.
 9

10

11
                                                   _____________________________
12                                                 HON. THOMAS S. HIXON
                                                   U.S. Magistrate Judge
13

14                                                   December 28, 2021
                                                   _____________________________
                                                   Date
15

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         JOINT STIPULATION AND [PROPOSED] ORDER VOLUNTARILY DISMISSING PLAINTIFF’S
28                                 CLAIMS WITH PREJUDICE
                                  CASE NO. 3:21-CV-08096-TSH
